      Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 1 of 7 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Midwest Operating Engineers Welfare           )
 Fund; Midwest Operating Engineers             )
 Pension Trust Fund; Midwest Operating         )
 Engineers Retirement Enhancement Fund;        )
 Operating    Engineers      Local     150     )
 Apprenticeship Fund; Local 150 IUOE           )     CIVIL ACTION
 Vacation Savings Plan; Construction           )
 Industry Research and Service Trust Fund;     )
 and International Union of Operating          )     NO. 19-CV-7441
 Engineers, Local 150, AFL-CIO,                )
                                               )
                                 Plaintiffs,   )     Judge
                                               )
                v.                             )     Magistrate Judge
                                               )
                                               )
 RSR Demolition, LLC, a dissolved
                                               )
 Indiana Limited Liability Company,
                                               )
                                               )
                               Defendant.      )

                                         COMPLAINT

       Plaintiffs, Midwest Operating Engineers Welfare Fund; Midwest Operating Engineers

Pension Trust Fund; Midwest Operating Engineers Retirement Enhancement Fund; Operating

Engineers Local 150 Apprenticeship Fund; Local 150 IUOE Vacation Savings Plan; (collectively

“the Funds”), Construction Industry Research and Service Trust Fund (“CRF”); and International

Union of Operating Engineers, Local 150, AFL-CIO (hereafter, “Local 150” or “the Union”); bring

this action to collect contributions and administrative dues from Defendant, RSR Demolition, LLC

(“RSR”).
      Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 2 of 7 PageID #:1




                 COUNT I - SUIT FOR DELINQUENT CONTRIBUTIONS

                                     Facts Common to All Counts

       1.      The Union is an employee organization under the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. § 1002(4); and a labor organization under the Labor

Management Relations Act (“LMRA”), 29 U.S.C. § 152(5).

       2.      Defendant RSR is an “Employer” within the meaning of ERISA, 29 U.S.C.

§ 1002(5) and an “Employer” within the meaning of the LMRA, 29 U.S.C. § 152(2). It is a

dissolved Indiana Limited Liability Company engaged in the construction industry with its

principal office in Gary, Indiana.

       3.      RSR identified Daniel A. Urquiza as Manager (Exhibit A).

       4.      On May 15, 2014, RSR, through Daniel Urquiza, signed a Memorandum of

Agreement (attached as Exhibit B) with the Union that adopted the terms of a collective bargaining

agreement known as the Northern Indiana Independent Contractors Group Agreement (excerpts

attached as Exhibit C).

       5.      The collective bargaining agreement (“CBA”) and the Agreements and

Declarations of Trust incorporated therein require RSR to make fringe benefit contributions to the

Funds. The Funds are “employee welfare benefit plans” and/or “plans” within the meaning of

ERISA, 29 U.S.C. § 1132(e)(2).

       6.      The CBA and Trust Agreements specifically require RSR to:

       (a)     Submit a monthly report stating the names and number of hours worked by
               every person on whose behalf contributions are required and accompany
               these reports with payment of contributions based on an hourly rate
               identified in the CBA;

       (b)     Compensate the Funds for the additional administrative costs and burdens
               imposed by its delinquency through payment of liquidated damages in the
               amount of ten percent of untimely contributions, or twenty percent of such
               contributions should the Funds be required to file suit;
                                                 2
      Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 3 of 7 PageID #:1




       (c)     Pay interest to compensate the Funds for the loss of investment income;

       (d)     Make its payroll books and records available to the Funds for the purpose
               of an audit to verify the accuracy of past reporting, and pay any and all costs
               incurred by the Funds in pursuit of an audit where a delinquency in the
               reporting or submission of contributions is identified;

       (e)     Pay the Funds’ reasonable attorneys’ fees and costs incurred in the
               prosecution of any action to collect outstanding reports, delinquent
               contributions, or compliance with an audit request;

       (f)     Furnish to the Funds a bond in an amount acceptable to the Funds.

       7.      The CBA also requires RSR to make contributions to CRF. CRF is a labor

management cooperative committee as that term is defined under Section 302(c)(9) of the LMRA,

29 U.S.C. § 186 (c)(9). The CBA places the same obligations on RSR with respect to CRF as it

does the Funds.

       8.      The CBA further requires RSR to deduct administrative dues and PAC

contributions from employees’ wages and remit those dues to the Union on a monthly basis

utilizing a form remittance report. Where RSR does not do so, the Union is entitled to liquidated

damages, attorneys’ fees and any other cost of collection.

       9.      RSR has become delinquent in the submission of its reports and contributions due

the Funds and CRF, and reports and administrative dues and PAC contributions to the Union. As

a result of this delinquency, it owes the Funds and CRF contributions, liquidated damages, and

interest, and dues, PAC contributions, and liquidated damages to the Union.

                                     Jurisdiction and Venue

       10.     This Court has jurisdiction over this action pursuant to ERISA, 29 U.S.C. §§ 1132,

1145 and 28 U.S.C. § 1331, because ERISA is a federal statute.

       11.     Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA because the

Funds are administered in Cook County, Illinois.
                                                 3
       Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 4 of 7 PageID #:1




                                     Allegations of Violations

       12.     ERISA states: “Every employer who is obligated to make contributions to a

multiemployer plan under the terms of the plan or under the terms of a collectively bargained

agreement shall, to the extent not inconsistent with law, make such contributions in accordance

with the terms and conditions of such plan or such agreement.” 29 U.S.C. § 1145.

       13.     Where an employer fails to submit contribution reports and contributions timely,

ERISA permits the Funds to file suit under ERISA to collect the fringe benefit contributions,

liquidated damages, interest, attorneys’ fees and costs. ERISA also permits the Funds to seek an

injunction that requires submission of outstanding reports so that the Funds may determine whether

additional sums are due to the Funds. Alternatively, the Funds may seek an audit to establish

whether such sums are due, and/or estimate the amounts due.

       14.     RSR has violated ERISA and breached the CBA and the Trust Agreements because

it has failed to timely submit its reports and contributions to the Funds and refused to pay liquidated

damages and interest that has accrued (demand letter attached as Exhibit D).

       15.     Upon careful review of all records maintained by the Funds, and after application

of any and all partial payments made by RSR, there is a total of $14,138.77 known to be due the

Funds from RSR, before the assessment of fees and costs, and subject to the possibility that

additional contributions, liquidated damages, and interest will become due while this lawsuit is

pending.

       WHEREFORE, the Funds respectfully request that the Court:

       A.      Enter judgment in favor of the Funds and against RSR for all unpaid
               contributions as identified in RSR’s contribution reports;

       B.      Enjoin RSR to perform specifically its obligations to the Funds, including
               submission of the required reports and contributions due thereon to the
               Funds in a timely fashion as required by the plans and by ERISA;


                                                  4
       Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 5 of 7 PageID #:1




        C.      Enjoin RSR at the Funds’ option to submit to an audit of its payroll books
                and records in order to determine whether RSR owes additional sums to the
                Funds, and pay the costs of such an audit; or alternatively at the Funds’
                option require RSR to pay any contributions reasonably estimated to be due
                by the Funds for the period when RSR failed and refused to timely submit
                contribution reports;

        D.      Enter judgment against RSR and in favor of the Funds for liquidated
                damages, interest, attorneys’ fees and costs associated with all delinquent
                contributions;

        E.      Provide the Funds with such further relief as may be deemed just and
                equitable by the Court, all at RSR’s cost.

                 COUNT II.       SUIT TO COLLECT CRF CONTRIBUTIONS

        1-9.    CRF re-alleges and incorporates herein by reference paragraphs 1 through 9 of

Count I as if fully stated herein.

                                     Jurisdiction and Venue

        10.     This Court has jurisdiction over this action pursuant to § 301 of the LMRA,

29 U.S.C. § 185 and 28 U.S.C. § 1331.

        11.     Venue is proper in this Court pursuant to 29 U.S.C. § 185(a) because this Court has

jurisdiction over the Parties, and CRF’s principal office is located within the geographic

jurisdiction of this Court.

                                     Allegations of Violations

        12.     RSR has not submitted all of its contribution reports to CRF. RSR has failed to

make timely payment of all contributions acknowledged to be due according to RSR’s own

contribution reports and the collective bargaining agreement, and RSR has failed to pay interest

and liquidated damages required by the CBA. Accordingly, RSR is in breach of its obligations to

CRF under the CBA.

        13.     That upon careful review of all records maintained by CRF, and after application

of any and all partial payments made by RSR, there is a total of $234.85 known to be due to CRF

                                                 5
       Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 6 of 7 PageID #:1




from RSR subject to the possibility that additional contributions and liquidated damages will

become due while this lawsuit is pending.

        WHEREFORE, CRF respectfully requests that the Court:

        A.      Order RSR to submit all delinquent monthly contribution reports;

        B.      Enter judgment in favor of CRF and against RSR for all unpaid
                contributions, liquidated damages, interest, CRF’s reasonable attorneys’
                fees and costs, including any amounts estimated to be due in view of RSR’s
                failure to submit all contribution reports required by the CBA;

        C.      Enjoin RSR to perform specifically its obligations to CRF including timely
                submission of reports and contributions as required by the plans and the
                CBA;

        D.      Award CRF such further relief as may be deemed just and equitable by the
                Court, all at RSR’s cost.

                COUNT III. SUIT TO COLLECT UNION DUES AND PAC
                                   CONTRIBUTIONS

        1-9.    The Union re-alleges and incorporates herein by reference paragraphs 1 through 9

of Count I as if fully stated herein.

                                        Jurisdiction and Venue

        10.     This Court has jurisdiction over this action pursuant to § 301 of the LMRA,

29 U.S.C. § 185.

        11.     Venue is proper in this Court pursuant to 29 U.S.C. § 185(a) because the Court has

jurisdiction over the Parties and the Union’s principal office is located within the geographic

jurisdiction of this Court.

                                        Allegations of Violations

        12.     RSR has not submitted all of its administrative dues and PAC contribution reports

to the Union. RSR has failed to make timely payment of all dues and PAC contributions

acknowledged to be due according to RSR’s own reports and the CBA. RSR is required to pay


                                                   6
       Case: 1:19-cv-07441 Document #: 1 Filed: 11/11/19 Page 7 of 7 PageID #:1




liquidated damages by the CBA. Accordingly, RSR is in breach of its obligations to the Union

under the CBA.

       13.     That upon careful review of all records maintained by the Union, and after

application of any and all partial payments made by RSR, there is a total of $221.79 known to be

due to the Union from RSR before the assessment of fees and costs subject to the possibility that

additional contributions and liquidated damages will become due while this lawsuit is pending.

       WHEREFORE, the Union respectfully requests that the Court:

       A.      Order RSR to submit all delinquent monthly dues and PAC contribution
               reports;

       B.      Enter judgment in favor of the Union and against RSR for all unpaid dues
               and PAC contributions, liquidated damages, the Union’s reasonable
               attorneys’ fees and costs, including any amounts estimated to be due
               because RSR failed to submit all dues reports and PAC contributions
               required by the CBA;

       C.      Enjoin RSR to perform specifically its obligations to the Union including
               timely submission of reports and contributions as required by the plans and
               the CBA;

       D.      Award the Union such further relief as may be deemed just and equitable
               by the Court, all at RSR’s cost.

Dated: November 11, 2019                             Respectfully submitted,

                                                By: s/ James Connolly, Jr.
                                                   One of the Attorneys for the Plaintiffs


Attorneys for Local 150:                             Attorney for the Funds and CRF:

Dale D. Pierson (dpierson@local150.org)              Dale D. Pierson (dpierson@local150.org)
James Connolly, Jr. (jconnolly@local150.org)         James Connolly, Jr. (jconnolly@local150.org)
Local 150 Legal Dept.                                Institute for Worker Welfare, P.C.
6140 Joliet Road                                     6140 Joliet Road
Countryside, Illinois 60525                          Countryside, Illinois 60525
Ph: (708) 579-6663                                   Ph: (708) 579-6628
Fx: (708) 588-1647                                   Fx: (708) 588-1647



                                                7
